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IN THE UNITED STATES DISTRICT COURT FORT IE CLERC U, 3]

 

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AL:XANDRIA, VIR
EASTERN DISTRICT OF VIRGINIA

Alexandria Division
UNITED STATES OF AMERICA
v. No. 1:22-cr-226
LATAE’VEION NAVIEOUR WOODS,

Defendant.

 

STATEMENT OF FACTS

The United States and the defendant, Latae’veion Navieour Woods, agree that the
following facts are true and correct, and that had this matter proceeded to trial, the United States
would have proven them beyond a reasonable doubt with admissible and credible evidence:

It On or about April 21, 2022, in Prince William County, in the Eastern District of
Virginia, the defendant did unlawfully, knowingly, and intentionally distribute a Schedule II
controlled substance to a person under age twenty-one, in violation of Title 21, United States Code,
Sections 841(a)(1) and 859.

2. On the morning of April 26, 2022, Victim 1—a 14-year old boy—was found
nonresponsive in his home in Woodbridge, and was later pronounced dead at Sentara hospital.
Officers with the Prince William County Police Department (“PWCPD”) found a clear plastic
baggie containing four blue pills with markings consistent with 30 milligram Percocet! pills in
Victim I's pants. The pills were subsequently analyzed at the Drug Enforcement

Administration’s Mid-Atlantic Laboratory. The analysis showed that the pills contained N-

 

' Percocet is a brand name for a pain reliever tablet that contains the opioid Oxycodone—a Schedule
II controlled substance—and non-opioid Acetaminophen. It is currently very common in the Eastern
District of Virginia, and throughout the United States, for counterfeit pressed pills containing fentanyl to
be manufactured to look like legitimate Percocet pills.
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phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propenamide (fentanyl), a Schedule II controlled
substance, as well as acetaminophen. Chemical analysis of Victim 1’s femoral blood obtained
during his autopsy revealed the presence of 0.048mg/L of fentanyl and an unquantified amount of
despropionylfentanyl, a metabolite of fentanyl. No other drugs or alcohol were present. The
Virginia Office of the Chief Medical Examiner ruled that Victim 1 died of Accidental Fentanyl
Intoxication.

3. Victim 1 purchased pills purporting to be Percocet from the defendant in the two
weeks leading up to his death. Victim 1 and the defendant had numerous conversations by text
message about Victim 1 using, buying, and/or re-selling the “percs”? he would obtain from the
defendant during March and April 2022. For example, the following conversation between the
defendant and Victim 1—during which a deal is arranged for “percs” and the defendant provides

Victim 1 with advice as to how to market and sell “percs”—occurred on April 21, 2022 around

 

 

 

 

 

 

 

 

 

 

 

 

 

4:00PM.
FROM MESSAGE
DEFENDANT | I can front u ercs too if u want
VICTIM 1 Thank u brodieeee J’!] lyk if da sum1 needs a perc
DEFENDANT | U ready now?
VICTIM 1 _| Ofc Brodie
VICTIM |__| U finna pull up?
DEFENDANT | Ye
DEFENDANT | U want me front u like 10 of em?
VICTIM 1 Ofc Brodie Imk
DEFENDANT | U really think u culd get em gone?
VICTIM 1 I think how much money u want bck?
DEFENDANT | 110
DEFENDANT | Sell em for 20-25

 

 

 

 

 

2 Real Percocet, as well as counterfeit pressed pills containing fentanyl, have various street names,

to include “percs,” “blues,” and “M30s.” Throughout this document, the term “perc” or “percs” will be
used for consistency and because that was the term most often used in conversations between VICTIM 1
and the defendant.
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VICTIM 1 | Bet
DEFENDANT | Some ppl 15
VICTIM1 | Gotu

 

 

 

 

 

 

4. During the above conversation with the defendant, Victim 1 messaged another
contact that he was going to start selling “percs,” and asked if that contact wanted to buy one.
Victim | messaged another contact and stated that he was going to “pop a perc” tomorrow. Later
on April 21, 2022, messages between Victim 1 and the defendant evidence that the deal for
“percs” did take place. On April 25th, Victim 1’s phone shows that he searched “How do u eat
an M30.”

5. A review of Victim 1’s phone revealed several additional conversations between
the defendant and Victim 1 about Victim 1 using, buying, and/or selling “percs” during March
and April 2022. On March 24th, Victim 1 purchased one pill from the defendant for $20. On
April 14th, the defendant asked Victim 1 if he knew anyone that needed Percocet. On April
15th, Victim 1 bought two pills from the defendant. Later on April 15th, Victim 1 sent a message
to another contact saying: “I’m dying bruuuuu....I took the perc.” On April 17th, Victim 1
messaged the defendant about using one of the “percs,” and the defendant told Victim | to keep
looking for other people that wanted pills. No other messages were located on Victim 1’s phone
that suggested Victim 1 had more than one source of supply for “percs.” During numerous
conversations with the defendant, Victim 1 made reference to being in school and, on at least one
occasion, stated that he gets out of school at 3:30PM.

6. On May 11, 2022, the Prince William County Narcotics Task Force executed a
search warrant on the defendant’s residence. During the execution of the search warrant, law

enforcement seized suspected marijuana, two handguns—a Glock 48 handgun bearing serial
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number BVNE171 and a Polymer 80, semi-automatic “ghost gun”? bearing no serial number—
ammunition, and a cell phone, all belonging to the defendant. When the police arrived, the
defendant ran into his room and asked his uncle to hide the gun.

7. In addition to the aforementioned messages with Victim 1, the defendant’s phone
had more messages showing that he was distributing “percs,” “blues,” and “30s” to other
individuals during March and April of 2022. The defendant’s cell phone also revealed that he
read an article on the news website “Inside Nova” at 10:38 AM on April 28, 2022 documenting
the death of Victim 1. Approximately two minutes after reading the article, the defendant sent
Victim 1 a text that asked, “U good brodie?” Approximately 18 seconds after that text, the
defendant sent another text message to his uncle that stated, “I think shit got deep unc.” The
defendant later admitted to police that he sold pills to Victim 1 and that he was aware that the
pills he was selling could kill people.

8. The defendant also offered to sell Victim 1 a gun. On March 28, 2022, the
defendant offered Victim 1 a Glock 19 for $650 or a Glock 48 for $800. The defendant told
Victim 1 that the Glock 19 was a “ghost,” and that the Glock 48 was “stupid clean.”

9. This statement of facts includes those facts necessary to support the plea agreement
between the defendant and the United States. It does not include each and every fact known to
the defendant or to the United States, and it is not intended to be a full enumeration of all of the
facts surrounding the defendant’s case.

10. The actions of the defendant, as recounted above, were in all respects knowing and

deliberate, and were not committed by mistake, accident, or other innocent reason.

 

3 “Ghost guns” are typically partially homemade or home-assembled firearms bearing no serial
number.

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11. If the defendant breaches the plea agreement, then pursuant to the plea agreement,
he waives atiy rights under Federal Rule of Criminal Procedure 11(f), Federal Rule of Evidence
410, the United States Constitution, and any federal statute or rule in objecting to the admissibility
of the statement of facts in any such proceeding.

Respectfully submitted,
Jessica D. Aber

United States Attorney

By:

 

Lauren E. Hahn
Special Assistant United States Attorney (LT)
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Defendant’s signature: After consulting with my attorney and pursuant to the plea
agreement entered into this day between the defendant, Latae’veion Navieour Woods, and the
United States, I hereby stipulate that the above Statement of Facts is true and accurate, and that
had the matter proceeded to trial the United States would have proved the same beyond a
reasonable doubt.

Date: (/2/Z2 Th CMe

Latae’veion Navieour Woods
Defendant
Defense counsel signature: | am the defendant’s attorney. I have carefully reviewed the
above Statement of Facts with him. To my knowledge, his decision to stipulate to these facts is

an informed and voluntary one.

Date: '/ < a ONES

Faraji Késenthall, Esq.
Counsel for the Defendant
